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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                              CASE NO. 3:03cr127 LAC

EDWARD NEWELL

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on APRIL 17, 2008
Motion/Pleadings: MOTION REQUESTING COPY OF PRESENTENCE REPORT
Filed by DEFENDANT                     on 4/16/08  Doc.# 489

RESPONSES:
                                               on                       Doc.#
                                               on                       Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon    consideration     of   the    foregoing,       it   is     ORDERED   this     25 th   day   of
April, 2008, that:
(a) The relief requested is DENIED.
(b) Defendant and his attorney were provided PSR at time of sentencing.



                                                                 s /L.A. Collier
                                                              LACEY A. COLLIER
                                                    Senior United States District Judge




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
